Case 1:21-cv-03354-BAH Document 90 Filed 08/08/23 Page 1 of 3

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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

RUBY FREEMAN and
Wandrea Moss

Vv.

X
)
Plaintiffs, ) Case No. 1:21-cv-03354 (BAH)
)
) Judge Beryl A. Howell
)
)

RUDOLPH W. GIULIANI,
STIPULATION

SUPERSEDING NOLO CONTENDRE

)
Defendant. )
X

WHEREAS, Defendant Giuliani believes that he has legal defenses to this

Complaint that he seeks to preserve both in the District Court and for purposes of
appeal; and

WHEREAS, Defendant Giuliani is desirous to avoid unnecessary expenses
in litigating what he believes to be unnecessary disputes; now

IT IS HEREBY STIPULATED, solely for the purposes of this that
Defendant Giuliani, for the purpose of deciding this case on the legal issues, and
recognizing that all other defendants previously identified in the complaint have
resolved their claims with all plaintiffs and, just like Giuliani, without admitting to
the truth of the allegations, hereby does not contest Plaintiffs’ factual allegations
that he is liable for the causes of action that Plaintiffs complain of, subject to
Plaintiffs offering proof of the amount of damages that Giuliani allegedly caused
them from his conduct they complain of:

1. Defendant Giuliani concedes solely for purposes of this litigation before
this Court and on Appeal: that Defendant Giuliani made the statements of
and concerning Plaintiffs, which include all of the statements detailed in
Plaintiffs Amended Complaint, ECF No. 22 at §§57-101 and he does not
dispute for purposes of this litigation, that the statements carry meaning
that is defamatory per se and thus presumed to have caused Plaintiffs
damages;

Case 1:21-cv-03354-BAH Document 90 Filed 08/08/23 Page 2 of 3

es of this litigation only,

2. That Defendant Giuliani, for the purpos
published those statements to third parties;
sarees t
3. That Defendant Giuliani, for the purposes of this litigation only, a no
contest that, to the extent the statements were statements of ae fe ist
otherwise actionable, such actionable factual statements oe : se.
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i ion does not affect Giuliani's ability to seek setoll, oltset ©
fea ts are constitutionally

settlement credit, or his argument that his statemen ee
or that Giuliani’s statements, in fact,

rotected statements or opinions,
: d the amount of any alleged damages

caused Plaintiffs any damages, an
which Giuliani’s statements may have caused;
That Defendant Giuliani does not contest, solely for the purposes of this
litigation, including on any appeal in this litigation, the factual elements
of liability regarding Plaintiffs’ claim for intentional infliction of
emotional distress and other related tort claims. This stipulation does not
affect Giuliani’s ability to seek setoff, offset or settlement credit, or his
argument that his statements are constitutionally protected statements or

r that Giuliani’s conduct, in fact, caused Plaintiffs any
ani’s conduct may

opinions, 0
damages, and the amount of any alleged damages Giuli

have caused.

5. Defendant Giuliani concedes, for purposes of this litigation only, all
factual allegations in Plaintiffs' Amended Complaint as to his liability—
but not for damages allegedly caused by him—for Plaintiffs' defamation,
intentional infliction of emotional distress, and civil conspiracy claims,
and his liability as to Plaintiffs' claim for punitive damages. Giuliani
specifically preserves his arguments that the statements complained of

are protected and non-actionable opinion for purposes of appeal.

6. Defendant Giuliani concedes, for purposes of this litigation only, that
liability in this case on Plaintiffs’ causes of action should be treated as
though there is default liability. Giuliani specifically preserves his
arguments that the statements complained of are protected and non-
actionable opinion for purposes of appeal. Giuliani also does not waive
his rights to require Plaintiffs to prove the amount of their alleged
Case 1:21-cv-03354-BAH Document 90 Filed 08/08/23 Page 3 of 3

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damages allegedly caused by Giuliani’s conduct. Finally, Giuliani
reserves his rights to seek setoff, offset or settlement credit as to any
alleged damages that Plaintiffs ultimately may prove that Giuliani caused
them.

Dated: August 8, 2023

Rudolph W. Giuliani

